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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTPaCT OF MONTANA
                                BILLINGS DIVISION




  GALILEA,LLC and TAUNIA
  KITTLER,                                           CV 18-131-BLG-SPW


                        Plaintiffs,
                                                      ORDER ADOPTING
  vs.                                                 MAGISTRATE'S FINDINGS
                                                      AND RECOMMENDATIONS
  PANTAENIUS AMERICAN
 LIMITED, ANDREA M.
 GIACOMAZZA, AGCS MARINE
 INSURANCE COMPANY,LIBERTY
 MUTUAL INSURANCE COMPANY,
  and TORUS INSURANCE
  COMPANY,

                        Defendants.




        The United States Magistrate Judge filed Findings and Recommendations on

Pantaenius and the Insurer Defendants' Motions for Summary Judgment. (Docs.

51 and 52). The Magistrate recommended that the motions be granted. (Doc. 58 at

2).

        Pursuant to 28 U.S.C. § 636(b)(1), parties are required to file written

objections within 14 days ofthe filing ofthe Magistrate's Findings and

Recommendation. No objections were filed. When neither party objects, this

Court reviews the Magistrate's Findings and Recommendation for clear error.
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